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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MONTANA
                             BILLINGS DIVISION

UNITED STATES OF AMERICA,                          CR 16-107-BLG-SPW-6

                        Plaintiff,
                                               ORDER SETTING
           vs.                                 SENTENCING

JASON EARL NELSON,

                        Defendant.

      Defendant, Jason Earl Nelson, entered his plea of guilty before U.S.

Magistrate Judge Timothy J. Cavan in open court on May 26, 2017. United States

Magistrate Judge Timothy J. Cavan entered Findings and Recommendation in this

matter on May 26, 2017 (Doc. 226). No objections having been filed within

fourteen days thereof,

      IT IS HEREBY ORDERED that Judge Cavan's Findings and

Recommendations (Doc. 226) are ADOPTED IN FULL;

      Therefore,

      IT IS HEREBY ORDERED that,

      I.         Sentencing is set for Thursday, September 28, 2017 at 9:30 a.m., in

the James F. Battin Courthouse, 2601 Second Avenue North, Billings, Montana.
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      2.    The United States Probation Office shall conduct a presentence

investigation and prepare a presentence report. Fed. R. Crim. P. 32(c), (d); 18

U.S.C. § 3552(a).

      3.    The probation officer shall disclose the completed report, except for

recommendations of the probation officer as follows: two copies to counsel for

Defendant, and one copy to counsel for the government on or before August 9,

2017. The probation officer shall not disclose any recommendation made or to be

made to the Court.

      4.     If restitution is mandatory, the probation officer shall discuss a

payment plan with Defendant and shall make recommendations to the Court

concerning interest and a payment schedule.

      5.     Counsel shall attempt in good faith to resolve disputes over any

material in the presentence report. Unresolved objections to be relied upon at

sentencing shall be presented to the probation officer on or before August 23,

2017. U.S.S.G. § 6Al .2. Any unresolved objections are expected to be

included in the pre-sentence report, not in a sentencing memorandum.

      6.     The presentence report, in final form, including any unresolved

objections, shall be delivered to the Court and the parties on or before September

6, 2017.




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      7.      Sentencing memoranda and supporting documents addressing all

relevant sentencing issues shall be filed on or before September 13, 2017. Absent

good cause shown, sentencing memoranda and supporting documents filed after

September 13, 201 7 will not be considered in addressing sentencing issues.

Failure to timely file sentencing memoranda may result in imposition of sanctions

against counsel.

      8.      Responses to sentencing memoranda shall be filed on or before

September 20, 2017.

      9.      Reply briefs will not be accepted for filing in sentencing matters.

      10.     The Court will resolve objections included in the Addendum to the

presentence report at the sentencing hearing in accordance with U.S.S.G. § 6Al.3.

      11.     All parties that intend to have witnesses testify at sentencing shall give

notice to this Court ten (10) days prior to the sentencing date.

      12.     Defendant is to remain in the custody of U.S. Marshals pending

sentencing.

      The clerk shall promptly notify counsel and the probation office of the entry

of this Order.

      DATED this /.:?'{f.yof June, 2017     A
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                                         United States District Judge


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